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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  In re:                                     §
                                             §       Case No. 23-10164-smr
  ASTRALABS, INC.,                           §
                                             §       Chapter 7
           Debtor.                           §

                  NOTICE OF WITHDRAWAL OF TRUSTEE’S
           APPLICATION TO EMPLOY GAMMA CONSULTING, LLC TO
     PROVIDE TRANSITION CONSULTING SERVICES TO AND FOR THE ESTATE

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE:

           Randolph N. Osherow, not individually but in his capacity as the duly appointed

  chapter 7 trustee for and on behalf of ASTRALABS, Inc. under the above-captioned bankruptcy

  case, hereby withdraws his Application to Employ Gamma Consulting, LLC to Provide

  Transition Consulting Services to and for the Estate [Docket No. 159] (the “Application”), with

  the consent of the sole objecting parties. The hearing on the Application, set for August 15,

  2023, is cancelled.

  Dated: August 9, 2023                              Respectfully submitted,

                                                     By: /s/ Thanhan Nguyen
                                                       Jay H. Ong
                                                       Texas Bar No. 24028756
                                                       Thanhan Nguyen
                                                       Texas Bar No. 24118479
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                                                     Counsel for Randolph N. Osherow,
                                                     Chapter 7 Trustee




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on the 9th day of August 2023, he personally
  caused true and correct copies of the foregoing pleading to be served by electronically filing it
  with the Court using the Court’s CM/ECF system, which sent notification to the parties receiving
  same through such system:

         Cleveland R Burke on behalf of Creditor Capitol Vending and Coffee Company
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         Randolph N Osherow
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        Gregory Raymond Siemankowski on behalf of multiple creditor parties
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        John Mark Stern on behalf of Creditor Texas Comptroller of Public Accounts, Revenue
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        United States Trustee - AU12
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                                                  By: /s/ Thanhan Nguyen
                                                         Thanhan Nguyen, Esq.




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